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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION
JANE UTAUS-VA DOE                   §
     Plaintiff                      §
                                    §
vs.                                 §
                                    §      C.A. No. _________________
THE UNIVERSITY OF TEXAS             §
AT AUSTIN                           §
     Defendant                      §
                                    §
________________________________________________________________________

                        PLAINTIFF’S ORIGINAL COMPLAINT

          COMES NOW, Plaintiff “JANE UTAUS-VA DOE” to file her “Plaintiff’s

Original Complaint” as follows:

                              A. NATURE OF THE SUIT

          1.      Plaintiff Jane (defined hereafter) is a female. Jane has certain

Disabilities (defined hereafter) which have been registered with Defendant UTAustin

and Accommodations (defined hereafter) were agreed to by Defendant UTAustin.

Unfortunately, Defendant continues to ignore Janes’ Accommodations and is

discriminating against Jane as a result of Jane’s Disabilities. Jane has attempted to

resolve informally the issues set forth herein, but has been unsuccessful. Jane has

been left with no choice to file this Complaint for damages and equitable relief.



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          2.      Plaintiff Jane now files this original action for damages and equitable

relief pursuant to:

                  (a)   Section 504 of the Rehabilitation, Comprehensive
                        Services, and Developmental Disabilities Act of 1978, 29
                        U.S.C. § 794;

                  (b)   Title II of the Americans with Disabilities Act, 42
                        U.S.C.A. §§ 12131–50 (2011); and

                  (c)   42 U.S.C. § 1983 with regards to:

                        (i)     Defendant’s violations of the laws of the United
                                States; and

                        (ii)    Defendant’s denial (under the color of law) of
                                Plaintiff Jane’s equal protection, procedural due
                                process violations, and substantive due process
                                rights granted by the Fourteenth Amendment to the
                                U.S. Constitution;

                        (iii)   Defendant’s denial (under the color of law) of
                                Plaintiff Jane’s freedom of expression and assembly
                                rights granted by the First Amendment to the U.S.
                                Constitution;

                  (d)   Defendant’s actions in violations of provisions of the
                        Texas Constitution; and

                  (e)   Defendant UTAustin’s breach of the Educational Contract
                        (defined hereafter).




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                                       B.   PARTIES

          3.      Plaintiff “JANE UTAUS-VA DOE” (“Jane”) is an individual residing

in the State of Texas. Because of the privacy issues involved in this matter and the

real and eminent threat of further retaliation by Defendant, Jane is hereby exercising

her rights to proceed with this matter anonymously.

          4.      The need to protect the identity of Plaintiff Jane does not hinder the

defense of this matter by Defendant, for the facts are well known to the Defendant.

When applying the applicable tests (created by jurisprudence applicable to this Court)

to balance the needed protection of privacy versus any inconvenience to the

Defendant, the protection of Jane’s privacy prevails.

          5.      At such time as the Court might agree on procedures designed (a) to

protect the privacy of Plaintiff Jane, and (b) to protect Plaintiff Jane from further

retaliation, Jane’s identity shall be disclosed.

          6.      Defendant    THE     UNIVERSITY       OF    TEXAS     AT    AUSTIN

(“UTAustin”) is a public university operating in the State of Texas and may be served

with citation by serving Defendant’s President as follows:

                              The University of Texas at Austin
                                  Attn: Gregory L. Fenves
                                  110 Inner Campus Drive
                                        Stop G3400
                                    Austin, Texas 78712
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                            C. JURISDICTION and VENUE

          7.      The jurisdiction of this Court is in accordance with 28 U. S. C. § 1331

as involving a federal question proceeding arising under:

                  (a)   Section 504 of the Rehabilitation, Comprehensive
                        Services, and Developmental Disabilities Act of 1978, 29
                        U.S.C. § 794 (“Section 504”);

                  (b)   Title II of the Americans with Disabilities Act (ADA), 42
                        U.S.C.A. §§ 12131–50 (2011) (“ADA”);

                  (c)   20 U.S.C. § 1681 et. seq. (Title IX of the Education
                        Amendments of 1972) (“Title IX”); and

                  (d)   Section 1983 of Title 42 of U.S.C. (“Section 1983”).

          8.      Venue is proper in the Western District of Texas (Austin Division)

because Defendant UTAustin operates its schools in, and from, Austin and Travis

County, Texas, which is within the Western District of Texas.

                               C. FACTUAL ALLEGATIONS

                                   Who is Plaintiff Jane?

          9.      Plaintiff Jane is a student working on a Master’s Degree from Defendant

UTAustin.

          10.     Upon enrollment in Defendant UTAustin, Plaintiff Jane took the

necessary steps to register for accommodations due to Jane’s federally recognized

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disabilities (“Jane’s Disabilities”) as allowed by Jane’s Section 504 rights. As a result,

Jane was granted certain “Accommodations.”

          11.     Most regrettably, Defendant UTAustin continues (a) to not provide the

Accommodations that Plaintiff Jane is legally entitled to, and (b) to take actions

against Jane because of Jane’s Disabilities (hereafter, the foregoing shall be

collectively referred to as the “Denials.”)

          12.     As a result of the Denials, Plaintiff Jane was forced to seek assistance

from the health care providers at Defendant UTAustin, who misdiagnosed Jane and

prescribed the incorrect medication, which has severely physically harmed Jane.

          13.     Upon Plaintiff Jane’s enrollment with Defendant UTAustin, various

agreements were entered into and policies in place which formed the contractual basis

for Jane’s studies at Defendant UTAustin (hereafter, collectively referred to as the

“Educational Contract”).

          14.     The foregoing actions by Defendant UTAustin constitute a breach of the

Educational Contract between Plaintiff Jane and Defendant UTAustin.

                                        Harm to Jane.

          15.     With Defendant UTAustin’s Denials, Plaintiff Jane’s graduation with

Jane’s Master’s Degree is continually at risk.


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          16.     For the purposes of this matter, Defendant UTAustin’s Denials; other

discrimination by Defendant UTAustin of Plaintiff Jane because of Jane’s

Disabilities;       Defendant    UTAustin’s    failure   to   provide   Plaintiff   Jane’s

Accommodations, and UTAustin’s breach of the Educational Contract shall be

collectively referred to hereafter as the “Civil Rights Violations.”

          17.     Plaintiff Jane has suffered severe physical, emotional, and economic

harm as a result of the Civil Rights Violations committed by Defendant UTAustin

and shall suffer future physical, emotional, and economic harm.

          18.     The Civil Rights Violations committed by Defendant as to Plaintiff Jane

were intentional and in bad faith, made with full knowledge that the damage to

Plaintiff Jane would follow Jane for the rest of her life, constituting conscious

indifference by Defendant UTAustin.

                     Defendant’s Action Under the Color of State Law.

         19.      The administrators, participating in Defendant UTAustin’s Civil Rights

Violations as to Plaintiff Jane, are the applicable persons delegated with

implementing and were implementing the policies and customs of Defendant

UTAustin when committing the Civil Rights Violations of Plaintiff Jane.




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          20.     Further, if such policies are not, in fact written, each of the

administrators participating in Defendant UTAustin’s Civil Rights Violations as to

Plaintiff Jane were implementing the policies and customs of Defendant UTAustin

in accord with the customs and practices of Defendant UTAustin.

                                  Administrative Remedies.

          21.     There are no administrative remedy preconditions (“Preconditions”)

required prior to seeking relief under the laws being invoked herein by Plaintiff Jane.

Even if such Preconditions did exist, the actions of Defendant have shown that such

efforts would be futile or are otherwise moot.

          22.     As a result of Defendant’s Civil Rights Violations targeted at Plaintiff

Jane, Plaintiff Jane was forced to engage an attorney and pursue this action to redress

such wrongs.

          23.     All conditions precedent to Plaintiff Jane bringing these claims have

been met.

                         E. PLAINTIFF’S CAUSES OF ACTION

          24.     Plaintiff Jane incorporates by reference the facts set forth in Article D:

FACTUAL ALLEGATIONS hereof.




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                      COUNT ONE: SECTION 504 VIOLATIONS

          25.     As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTAustin falls under the

jurisdiction and requirements of Section 504.

          26.     As mandated by Section 504, Defendant UTAustin is prohibited from

discriminating against students having been diagnosed with various disabilities.

          27.     Plaintiff Jane’s Disabilities qualify as disabilities covered by Section

504, and Defendant UTAustin’s Civil Rights Violations against Jane are direct

violations of Section 504,

          28.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane in

violation of Section 504 have caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section 504.

          29.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane

in violation of Section 504 have caused Plaintiff Jane to suffer mental and

emotional distress and damages, including all actual, consequential, continuing, and

future compensatory damages, for which Plaintiff Jane now sues in accord with

Section 504.



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                           COUNT TWO: ADA VIOLATIONS

          30.     As a university owned and operated by the State of Texas that receives

grants and other funding from the United States, Defendant UTAustin falls under the

jurisdiction and requirements of the ADA.

          31.     As mandated by the ADA, Defendant UTAustin is prohibited from

discriminating against students having been diagnosed with various disabilities.

          32.     Plaintiff Jane’s Disabilities qualify as disabilities covered by the ADA,

and Defendant UTAustin’s Civil Rights Violations against Jane are direct violations

of Section 504.

          33.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane in

violation of the ADA have caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with the ADA.

          34.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane

in violation of the ADA have caused Plaintiff Jane to suffer mental and emotional

distress and damages, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with the ADA.




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                     COUNT THREE: SECTION 1983 VIOLATIONS

          35.     Section 1983 of Title 42 of the United States Code provides, in part,:

                        “Every person who under color of any statute,
                        ordinance, regulation, custom, or usage, of any
                        State…subjects, or causes to be subjected, and citizen
                        of the United States…to the deprivation of any rights,
                        privileges, or immunities secured by the Constitution
                        and laws, shall be liable to the part injured in an action
                        at law, suit in equity, or other proper proceeding for
                        redress…”

          36.     Defendant UTAustin’s Civil Rights Violations were committed against

Plaintiff Jane under the color of law and resulted in the violation of Plaintiff Jane’s

rights under the United States Constitution and other federal laws.

          37.     Specifically, Defendant UTAustin’s Civil Rights Violations were

committed under the color of law and resulted in the violation of Plaintiff Jane’s

rights under:

                  (a)   Section 504;

                  (b)   the ADA;

                  (c)   the procedural due process requirements of the United
                        States Constitution as set forth in the Fourteenth
                        Amendment, in violation of Jane’s Property Rights;

                  (d)   the substantive due process requirements of the United
                        States Constitution set forth in the Fourteenth
                        Amendment in violation of Jane’s Property Rights; and

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                  (e)   the equal protection requirements of the United States
                        Constitution set forth in the Fourteenth Amendment in
                        violation of Jane’s Property Rights.

          38.      Defendant UTAustin’s Civil Rights Violations of Plaintiff Jane, in

violation of Section 1983 has caused Plaintiff Jane to suffer a loss of benefits and

created economic losses, including all actual, consequential, continuing, and future

compensatory damages, for which Plaintiff Jane now sues in accord with Section

1983.

          39.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane

in violation of Section 1983 have caused Plaintiff Jane to suffer mental and

emotional distress and damages, including all actual, consequential, continuing, and

future compensatory damages, for which Plaintiff Jane now sues in accord with

Section 1983.

          40.     Plaintiff Jane also seeks equitable relief to which Plaintiff Jane is

entitled by Section 1983, including but not being limited to:

                  (a)   the implementation of Jane’s Accommodations at all
                        levels of Jane’s Education; and

                  (b)   requiring Defendant UTAustin to cease and desist from
                        any further Civil Rights Violations against Plaintiff Jane.




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        COUNT FOUR: VIOLATIONS OF THE TEXAS CONSTITUTION

          41.     As a university owned and operated by the State of Texas, Defendant

UTAustin’s action are also subject to scrutiny of protections created by the Texas

Constitution.

          42.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane

were committed under the color of law and resulted in the violation of Plaintiff

Jane’s’ rights under the Constitution of the State of Texas.

          43.     Specifically, Defendant UTAustin’s Civil Rights Violations committed

towards Jane were committed under the color of law and resulted in the violation of

Plaintiff Jane’s rights under:

                  (a)   the procedural due process requirements of the Texas
                        Constitution found in Article 1, Section 19;

                  (b)   the substantive due process requirements of the Texas
                        Constitution found in Article 1, Section 19; and

                  (c)   the equal protection requirements of the Texas
                        Constitution found in Article I, Section 3.

Hereafter, the foregoing shall be collectively referred to as “Violations of the Texas

Constitution.”




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          44.     Defendant UTAustin’s Violations of the Texas Constitution as to

Plaintiff Jane have caused Plaintiff Jane to suffer a loss of benefits and created

economic losses.

          45.     Defendant UTAustin’s Violations of the Texas Constitution as to

Plaintiff Jane have caused Plaintiff Jane to suffer mental and emotional distress and

damages.

          46.     Although Plaintiff Jane, as a private party living in the State of Texas,

has no standing to seek monetary damages for the Defendant UTAustin’s

Violations of the Texas Constitution as to Plaintiff Jane, Plaintiff Jane does seek the

equitable relief to which Plaintiff Jane is entitled by Texas jurisprudence, including

but not being limited to:

                  (a)   the implementation of Jane’s Accommodations at all
                        levels of Jane’s Education; and

                  (b)   requiring Defendant UTAustin to cease and desist from
                        any further Civil Rights Violations against Plaintiff Jane.

                        COUNT FIVE: BREACH OF CONTRACT

          47.      Defendants’ Civil Rights Violations committed against Plaintiff Jane

included a breach of the Educational Contract.

          48.     Plaintiff Jane has suffered economic damage as a direct and proximate

result of Defendant UTAustin’s breach of the Educational Contract.
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          49.     As a result of the foregoing, Plaintiff Jane hereby seeks recovery all

actual and consequential damages available to Jane arising from such breach.

                         COUNT FIVE: PUNITIVE DAMAGES

          50.      Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane in

violation of Section 504 were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s

federally protected rights, thereby entitling Plaintiff Jane to punitive damages

pursuant to Section 504, for which Plaintiff Jane now seeks in an amount of $

1,000,000.00.

          51.     Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane in

violation of the ADA were intentional and willful, or at a minimum, were committed

with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s federally

protected rights, thereby entitling Plaintiff Jane to punitive damages pursuant to the

ADA, for which Plaintiff Jane now seeks in an amount of $ 1,000,000.00.

         52.      Defendant UTAustin’s Civil Rights Violations against Plaintiff Jane in

violation of Section 1983 were intentional and willful, or at a minimum, were

committed with a lack of regard for, or with reckless indifference to, Plaintiff Jane’s

federally protected rights, thereby entitling Plaintiff Jane to punitive damages


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pursuant to Section 1983, for which Plaintiff Jane now seeks in an amount of $

1,000,000.00.

                      COUNT SIX: POST JUDGMENT INTEREST

          53.     Plaintiff Jane also requests post judgment interest as may be allowed by

applicable law.

                          COUNT SEVEN: ATTORNEYS’ FEES

          54.     Plaintiff Jane should be awarded Jane’s reasonable and necessary

attorneys’ fees incurred in relation to the foregoing as allowed by applicable law.

                                F.   REQUEST FOR JURY

          55.     Plaintiff Jane hereby requests that a jury be empaneled, and, that the

foregoing causes of actions and requests for relief be presented to such jury for

resolution.

                                G. PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Jane prays that: summons be issued upon

Defendant; upon final trial hereof, that judgment be entered in favor of Plaintiff Jane

for the actual, consequential, and exemplary damages set forth herein including post

judgment interest; that Plaintiff Jane be granted the equitable relief be granted; that

Plaintiff Jane be reimbursed her reasonable and necessary attorneys’ fees required to

bring this matter; all costs of Court be taxed against Defendant; and that Plaintiff Jane
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have such further and other relief, general and special, both at law or in equity, to

which he may show herself to be justly entitled.

          Respectfully submitted,

                                         Gorman Law Firm, pllc



                                          By:
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